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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER:
         v.
                                                           1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

         Defendant.


  DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S REPLY IN
  SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH FED. R. CRIM. P. 16

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully submits this reply brief in support of its Motion to

Compel Compliance with Fed. R. Crim. P. 16. ECF 241. In support of its Motion, Concord states

as follows:

       I.      Introduction

       The government seeks a trial by surprise where it will present technical information beyond

the scope of knowledge of an average juror, and unknown to Concord. This tactic will make it

impossible for Concord to prepare cross-examination or to determine in advance if defense experts

are needed in rebuttal. And the government’s strategy is based solely on its unilateral classification

of this unknown evidence as fact, not expert testimony. In support, the government cites only to

appellate cases applying an abuse of discretion standard. The government does not cite to a single

district court case where the court did what the government expects this Court to do.

       The government’s categorical declaration that its proffered testimony is “fact testimony”

from “fact witnesses” does not make it so, and the cases it cites do not support its pronouncement.

This is just the latest example in this case of the government initially withholding information, and

then changing its story when it works to the government’s advantage—with the result that Concord

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is forced to defend its rights on incomplete and misleading information and is prejudiced by an

even more compressed pre-trial schedule. As such, the Court should grant Concord’s motion and

order the government to make the required disclosures under Rule 16.

       II.     Law and Argument

       The government’s opposition overlooks an important point Concord emphasized in its

motion: that the categories of evidence at issue here are not pure opinion testimony under either

FRE 701 or 702, but instead reflect “specialized knowledge” that is exclusively within the ambit

of FRE 702, and by extension, trigger the notice requirement in Rule 16. The government’s efforts

to minimize the testimony and to characterize it as merely fact-based are completely unsupported.

And in doing so, the government is depriving Concord of important information that is required

by Rule 16 for it to present a full defense. Only if the government gives the required notice can

Concord effectively prepare for cross examination of those witnesses and determine whether its

own experts are necessary.

               A.     Roles and Functions of Particular Government Agencies

       The government asserts that it will likely call “employees or officials” of the Federal

Election Commission (“FEC”), U.S. Department of Justice (“DOJ”), and U.S. Department of State

(“DOS”), to testify about “certain statutory and regulatory provisions laying out the lawful

functions of the three agencies whose function the [Superseding] Indictment alleges the defendants

conspired to obstruct.” Opp. 7. The government insists that such testimony “will not rise to the

level of opinion testimony,” and “will be much more in line with the testimony ‘on a factual matter

within [the witness’] [sic] own experience’ approved of in [United States v. Kelsey, 917 F.3d 740,




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747-49 (D.C. Cir. 2019)], since these witnesses will describe the work they do at their respective

agencies.” Opp. 7.1 The government’s argument fails for three reasons.

       First, the government improperly assumes that “opinion testimony” is a prerequisite for

application of FRE 702 and Rule 16, when it is not. See Opp. 8 (“the testimony envisioned by the

government will not consist of opinion testimony”). As Concord pointed out in its Motion, opinion

testimony is only one of several possible grounds for testimony that requires qualification under

FRE 702. Mot. 3-4. Specifically, the rule provides that experts “may testify in the form of an

opinion or otherwise under Rule 702.” Thus a witness need not testify as to his or her opinion in

order to cross the threshold into expert territory and to trigger the notice requirement of Rule 16—

any testimony based on technical or specialized knowledge triggers the application of Rule 702.

The purpose of the Rule 16 notice requirement is to “minimize surprise that often results from

unexpected expert testimony, reduce the need for continuances, and to provide the opponent with

a fair opportunity to test the merit of the expert’s testimony through focused cross-examination.”

Fed. R. Crim. P. 16 adv. comm. note. See also United States v. Brown, No. CRIM 7:06CR00044,

2007 WL 1228551, at *1-2 (W.D. Va. Apr. 26, 2007) (in ruling on motion to exclude expert




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 The government insists that these witnesses “will not be providing any opinion testimony about
whether the alleged conduct of the defendants would have prompted regulation or triggered
disclosure requirements, had these agencies known about the alleged conduct.” Opp. 4. This is
directly contrary to what the government previewed to the Court last year when defending the
sufficiency of the Indictment. In that context, the government asserted that it will have to prove
at trial “that the defendants knowingly and intentionally engaged in deceptive acts that interfered
with the regulatory functions of the FEC or DOJ in a way that precluded those entities from
ascertaining whether those substantive statutes were violated.” Gov’t Opp. to Def’s Motion to
Dismiss, ECF 56, at 11. Thus, according to the government, it will prove a § 371 violation if it
“establishes that, had federal agents known of the defendants’ Russian affiliation,” which it asserts
the defendants deceptively concealed from the United States, “those agents would naturally have
initiated an investigation to ascertain whether the defendants were in fact complying with the
election-contribution or agent-registration laws.” Id. So here we have yet another example of the
government’s arguments changing depending on the precise issue in front of the Court at any given
moment.

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testimony relating to computer forensics, noting that “the purpose of the rule is to provide

fair notice of the content of the expert’s opinion and fair notice as to how those conclusions have

been reached” and finding that the government’s disclosures were insufficient “to avoid surprise

and properly focus cross-examination in all important respects”).

       Second, the primary case the government cites in support of its assertion that the proffered

testimony related to the functions of government agencies “will not rise to the level of opinion

testimony” does not consider the relevant issue. Opp. 7. In Kelsey, the D.C. Circuit, on appeal,

recently addressed testimony from a DNA lab technician that the trial court deemed to be properly

admitted as lay fact testimony. 917 F.3d at 747-48. The testimony there related to simple chain

of custody issues and whether the DNA sample data the lab technician obtained was the same data

that was provided to the expert witness who actually performed the DNA testing. Id. at 746-48.

Thus, the Court of Appeals in Kelsey never considered whether FRE 702 even applied, and instead

concluded that “[t]he record fully supports the district court’s conclusion that [the witness] testified

as one of multiple lay witnesses who accounted for the chain of custody and physical processing

of the DNA evidence, as distinct from its expert analysis.” Id. at 748 (emphasis added).

       Moreover, the witness in Kelsey was properly deemed a fact witness because the lab

technician was personally involved in the analysis of the evidence at issue in that particular case.

By contrast, the government does not claim that the “employees or officials” of the FEC, DOJ, and

DOS that it anticipates calling to testify about the functions of those government agencies were

actually involved in the investigation or review of the evidence related to the conspiracy alleged

in this case. To that end, the D.C. Circuit has held that “knowledge derived from pervious

professional experience falls squarely ‘within the scope of Rule 702.’” United States v. Williams,

827 F.3d 1134, 1156 (D.C. Cir. 2016) (quoting United States v. Smith, 640 F.3d 358, 365 (D.C.

Cir. 2011)). Because these witnesses apparently will testify about the functions of the government


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agencies at which they work based on specialized knowledge obtained in the course of their

employment and not their personal involvement about the specific conspiracy alleged in the

Indictment, their testimony is properly the subject of Rule 702.

       The government cites in its Opposition Bank of China, New York Branch v. NBM LLC, 359

F.3d 171 (2d Cir. 2004), which also makes Concord’s point. This is a civil case in which the court

of appeals overturned a jury verdict. The challenged witness was employed by the plaintiff, had

years of experience in international banking, and conducted an investigation of the defendants’

activities. As noted by the government, the Second Circuit ruled that “[t]he fact that [the witness]

has specialized knowledge, or that he carried out his investigation because of that knowledge, does

not preclude him from testifying pursuant to Rule 701, so long as the testimony was based on the

investigation and reflected his investigatory findings and conclusions. Such opinion testimony is

admitted not because of experience, training or specialized knowledge within the realm of an

expert, but because of the particularized knowledge that the witness has by virtue of his position

in the business.” 359 F.3d at 181 (quotations and alterations omitted).

       But what the government does not mention in its Opposition is that the Second Circuit went

on to state that “to the extent [the witness’s] testimony was not a product of his investigation, but

rather reflected specialized knowledge he has because of his extensive experience in international

banking, its admission pursuant to Rule 701 was error. Thus, [the witness’s] explanations

regarding typical international banking transactions or definitions of banking terms, and any

conclusions that he made that were not a result of his investigation, were improperly admitted.”

Id. at 182. The same is true here.

       Third, the proffered testimony regarding the agency functions at issue here will involve

impermissible legal opinions in the form of legal interpretations of the “statutory and regulatory

provisions”—particularly as it relates to testimony setting forth what constitutes a “lawful


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function[] of the three agencies” at issue. Opp. 7. Such legal interpretations are inadmissible as a

matter of law. See, e.g., Burkhart v. Washington Metropolitan Area Transit Auth., 112 F.3d 1207,

1212-13 (D.C. Cir. 1997) (noting the “danger in allowing experts to testify as to their

understanding of the law” and that “[e]ach courtroom comes equipped with a ‘legal expert,’ called

a judge”); United States v. Comstor Corp., 308 F. Supp. 3d 56, 69 n.4 (D.D.C. 2018) (refusing to

consider expert report authored by a former GSA employee when deciding a motion to dismiss

where the report contained the “proposed expert’s interpretation of obligations under [government]

regulations,” and noting that “interpreting the relevant law and regulations is the job of the Court”).

Without notice and a report in advance of trial it will be impossible for Concord to file any relevant

motion in limine to exclude such improper testimony; and instead, the Court will have to deal with

this critical legal issue in the middle of trial.

        It is “generally prohibited for a lay witness to interpret statues and to give legal opinions.”

United States v. El-Mezain, 664 F.3d 467, 511 (5th Cir. 2011). In El-Mezain, the government

introduced testimony from an official in the Treasury Department’s Office of Foreign Assets

Control, but did not notice him as an expert witness. Id. at 511. Nevertheless, he explained that

the Treasury Department typically does not designate every sub-group or component of a

designated terrorist organization because it focuses its limited resources on designating key parts

of the organization. Id. at 512. He also read from Treasury Department regulations and answered

a hypothetical question about a specific group. Id. The Fifth Circuit found error in admitting the

testimony about the Treasury Department’s practice of designating or not designating sub-groups

of terrorist organizations, finding that it was “not within the realm of an ordinary lay witness.” Id.

The government argued that the testimony was based on the official’s personal knowledge, but the

court found that his “opinions and explanations were the product of specialized knowledge.” Id.

“It is true that lay witnesses may sometimes give opinions that require specialized knowledge, but


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the witness must draw straightforward conclusions from observations informed by his own

experience,” and “[r]ather than make straightforward conclusions from his observations, [the

witness] explained the procedures of” the agency where he worked. Id. (emphasis added);2 see

also United States v. Griffin, 324 F.3d 330, 347-48 (5th Cir. 2003) (finding error in admitting lay

witness, a former employee of the relevant state agency, to testify about her interpretation of state

statutes).

        In this case, the government seeks to introduce precisely the type of testimony that was

deemed improper in El-Mezain—agency employees “discussing the statutory and regulatory

responsibilities and authorities of these agencies and how they fulfill these responsibilities.” Opp.

3. This would inherently include testimony about any alleged duties of a foreign national; or it

would be meaningless to the jury. But it is the responsibility of the Court alone to instruct the jury

as to the relevant law; a government employee dressed up as a fact witness cannot do so.3 The

employees are offering testimony based on specialized knowledge, including their experience and

training. This constitutes expert testimony under Rule 702.

               B.      Evidence Derived From Internet and Social Media

        The government also proffers and claims that “evidence derived from Internet and social

media websites” does not fall within the ambit of Rule 702.             Opp. 1.     The government



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  While finding error in the admission of the witness’s testimony, the Fifth Circuit ultimately
concluded that the error was harmless because it was cumulative of a government expert witness
who testified about Treasury Department practices. Id. at 512-13.
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  The government itself acknowledges this to be true. See ECF 262 at 10 (“The Court will instruct
the jury as to any legal obligations—under FECA, FARA, or otherwise—that are relevant to the
jury’s consideration of the evidence. It will be the jury’s role to determine whether there was, in
fact, a failure to satisfy a legal obligation and, if so, whether and to what degree that is probative
of the conspirators’ intent. The views of persons within the federal government about whether,
based on certain facts, the defendants or others would have had to file disclosures under FECA,
register under FARA, or provide additional information to the State Department are simply not
material to the jury’s evaluation of the facts in this case.”).

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acknowledges that this evidence will include technical issues relating to the “messages and posts

made by indicted and unindicted co-conspirators to and through various Internet and social media

sites,” including subscriber and user information for the accounts, as well as any linked accounts,

and the IP addresses from which certain messages were sent or posted, or from which the accounts

were accessed. Id. at 4, 8.4

       This proposed testimony implicates the “specialized knowledge” component of Rule 702

because it will involve a technical explanation of the origins of the data purportedly captured by

the Internet and social media companies. See Opp. 9 (noting that the witnesses will “be explaining

where the data in the records came from and how it was stored”). Despite the government’s efforts

to downplay the technical nature of this evidence and the explanations needed to understand it, see

id. (“[t]he witnesses . . . will merely be explaining . . .”), it nevertheless will involve “technical

and specialized knowledge” that brings it within the ambit of Rule 702. For example, it will

include explanation of the computer systems on which the data were captured and maintained, the

terminology and technology needed to interpret the data, the accuracy of the data and the records,

and the ability to manipulate or alter them. In other words, it will not be possible for either a case

agent or the representatives of the Internet and social media companies to explain this evidence to

the jury without relying on “technical, or other specialized knowledge.” Fed. R. Evid. 702. Thus,

regardless of whether these proffered witnesses will be testifying as to opinions or facts, the

testimony is deemed to be that of an expert and must be disclosed in advance.




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  While the government gives some explanation of how it intends to introduce evidence regarding
messages and posts, noticeably absent from the government’s Opposition is how it intends to prove
that the defendants and their co-conspirators “deleted and destroyed data, including emails, social
media accounts, and other evidence of their activities.” Sup. Ind. ¶ 58. To the extent any such
evidence and testimony involves “technical or specialized knowledge” of what should have been
in the email or social media accounts, this, too, would fall within Rule 702 and require disclosure.

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       In support of its position, the government cites and then attempts to distinguish United

States v. Williams, 827 F.3d 1134 (D.C. Cir. 2016). Opp. 9. But Williams involved the reversal

of a conviction where an FBI agent offered lay opinion testimony interpreting audio and video

recordings of a drug conspiracy. 827 F.3d at 1155. Distinguishing a case that has no similarities

to the issue before the court is meaningless and it does not follow that simply because the

government’s proposed witnesses are not interpreting code words or offering opinions about their

meaning, the testimony is not based on technical and specialized knowledge required to comply

with Rule 702.5

       By contrast, United States v. Gainer, 468 F.3d 920 (6th Cir. 2006), involved charges of

endeavoring to obstruct justice and altering, destroying, or concealing documents based on

defendant’s alleged deletion of certain computer files. The government sought to admit testimony

from a forensic computer specialist about searches he ran on the defendant’s computer. Id. at 923.

The government did not notice the witness pursuant to Rule 16 (a)(1)(G), arguing that the proposed

testimony was not based on scientific, technical, or other specialized knowledge, but was “simply

lay testimony available by ‘running commercially-available software, obtaining results, and

reciting them.” Id. at 925. The government argued that the testimony “is of the same type as facts

that could be observed by any person reasonably proficient in the use of commonly used computer

software.” Id. at 925-26 (internal quotation marks and alterations omitted). The Sixth Circuit

disagreed, finding that the witness’s interpretation of the reports would require the witness “to

apply knowledge and familiarity with computers and the particular forensic software well beyond

that of the average layperson” and that this constitutes scientific, technical, and other specialized


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  Further, the government’s logic for distinguishing Williams (“the evidence here will come from
the records”) is baffling. That the evidence to be introduced comes from “records” as opposed to
“recorded conversations and interactions” is of no moment. The records still must be explained
using technical or specialized knowledge.

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knowledge within the scope of Rule 702. Id. at 926. This is the same type of testimony the

government seeks to elicit here.

       III.    Conclusion

       The government’s efforts to minimize its proffered testimony and to simply characterize it

as lay fact (or opinion) are belied by the nature of the evidence itself. None of the cases the

government has cited support its position, and as such it should be ordered to comply with its

obligations under Rule 16.

 Dated: December 2, 2019                           Respectfully submitted,

                                                   CONCORD MANAGEMENT AND
                                                   CONSULTING LLC

                                                   By Counsel

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